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                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT MICHIGAN

MALIBU MEDIA, LLC,                      )
                                        )
              Plaintiff,                )            Civil Case No.
                                        )
v.                                      )
                                        )
JOHN DOE subscriber assigned IP address )
98.224.254.205,                         )
                                        )
              Defendant.                )
                                        )

                  MOTION FOR LEAVE TO SERVE A THIRD PARTY
                  SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       Pursuant to Fed. R. Civ. P. 26(d)(1), and upon the attached: (1) Memorandum of Law in

support of this motion; (2) Declaration of Colette Field in support of this motion; (3) Declaration

of Patrick Paige in support of this motion; and (4) Declaration of Tobias Fieser in support of this

motion, Malibu Media, LLC (“Plaintiff”), respectfully moves for entry of an order granting it

leave to serve a third party subpoena on Comcast Cable, prior to a Rule 26(f) conference (the

“Motion”). A proposed order is attached for the Court’s convenience.

                                                     Respectfully submitted,

                                                     NICOLETTI LAW, PLC

                                             By:      /s/ Paul J. Nicoletti
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